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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:08-cr-0474 WBS
13                 Plaintiff,

14        v.                                 ORDER
15   DINO ROSETTI,

16                 Defendant.

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18                                ----oo0oo----

19              The court defers to the Bureau of Prisons on the

20   question of whether to transfer defendant to a halfway house or

21   home confinement prior to his determined release date.

22   Defendant’s motion for a recommendation to that effect (Docket

23   No. 327) is therefore DENIED.

24   Dated:    August 12, 2014

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